
The judgment of the general court was as follows:
It seems to the court here, that the order made by the circuit superior court, committing the said William Young to the custody of the sheriff, is illegal and improper, because it does not sufficiently specify the offence with which he was charged and for *450which he was so committed. It is therefore ordered that the said William Young be discharged out of the custody of the sheriff under the sa d order of commitment.
*But it further appearing to this court, from testimony contained in the record of the proceedings against the said William Young in the said circuit court, that there is reasonable ground to suspect him of having committed a violation of the criminal law of this commonwealth, proper to be made the subject of judicial enquiry and proceeding, it is further ordered that the said sheriff do take the said William Young again into his custody, and carry him forthwith before some justice of the peace having jurisdiction of any offence involved in the act for which he was lately tried before the said circuit court (other than the specific crime of which he was acquitted upon that trial), to be dealt with by such justice of the peace according to law.
From so much of the foregoing judgment as directs the said William Young to be taken again into custody by the sheriff of Henrico, and carried before a justice of the peace, judges Homax, Heigh, Duncan, Fry and Clopton dissent; considering the present case not a proper one for the exercise of the power of this court to make such order.
